Case 2:05-cv-02216-BBD-dkv Document 16 Filed 06/30/05 Page 1 of 2 Page|D 25

HLED BY _4____ D.c‘
UNITED STATES DISTRICT COURT

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MEDLPRO s.A., U.S. D!` .
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Piainrirf,
v. Civii Action No. 05-2216-D/v

MEDTRONIC SOFAMOR DANEK, INC.,

Defendant.

 

ORDER ENLARGING TIME

 

On unopposed motion by plaintiff Medipro S.A., presenting adequate cause, the
time period for said plaintiff to respond to the motion to temporarily stay proceedings

served by defendant Medtronic Sofamor Danek, Inc. on May 13, 2005, is enlarged to and

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JITED sTAT£/s 3 - ' JUDGE
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including October 15, 2005 .

 

 

This document entered on the docket sheet in compliance
with Hu|e 58 and/or 79(a) FRCP on "' '“ /é

 

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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

